 

	
	
	
	
	OSCN Found Document:IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION

	
	
	

	
	
	
	
	
	
	
	

	


					
	
        
            	
			
				


     
    OSCN navigation


    
        
        Home

        
        Courts

        
                
	    Court Dockets
			 

        
        Legal Research

        
        Calendar

        
        Help
    
    





				
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
				
			
            
        

        
            
				
				IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2017 OK 45Case Number: SCBD-6511Decided: 05/30/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 45, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 

IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONCOMPLIANCE WITH MANDATORY CONTINUING LEGAL EDUCATION REQUIREMENTS FOR THE YEAR 2016
ORDER OF SUSPENSION FOR FAILURE TO COMPLY WITH THE 
RULES FOR MANDATORY CONTINUING LEGAL EDUCATION
On May 19, 2017, the Board of Governors of the Oklahoma Bar Association filed an Application for the suspension of members who failed to comply with mandatory legal education requirements for the year 2016 as required by Rules 3 and 5 of the Rules for Mandatory Continuing Legal Education (MCLE Rules), 5 O.S. 2011, ch. 1, app. 1-B. The Board of Governors recommended the members, whose names appear on Exhibit A attached to the Application, be suspended from membership in the Oklahoma Bar Association and prohibited from the practice of law in the State of Oklahoma, as provided by Rule 6 of the MCLE Rules. 
This Court finds that on March 15, 2017, the Executive Director of the Oklahoma Bar Association mailed, by certified mail to all Oklahoma Bar Association members not in compliance with Rules 3 and 5 of the MCLE Rules, an Order to Show Cause within sixty days why the member's membership in the Oklahoma Bar Association should not be suspended. The Board of Governors determined that the Oklahoma Bar Association members named on Exhibit A of its Application have not shown good cause why the member's membership should not be suspended. 
This Court, having considered the Application of the Board of Governors of the Oklahoma Bar Association, finds that each of the Oklahoma Bar Association members named on Exhibit A, attached hereto, should be suspended from Oklahoma Bar Association membership and shall not practice law in this state until reinstated. 
IT IS THEREFORE ORDERED that the attorneys named on Exhibit A, attached hereto, are hereby suspended from membership in the Association and prohibited from the practice of law in the State of Oklahoma for failure to comply with the MCLE Rules for the year 2016.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 30th DAY OF MAY, 2017.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR

EXHIBIT A
(MCLE - Suspension)
Marc S. Albert, OBA #32287
14 Brook Lane
Brookville, NY 11545
Daniel Allen Arnett, OBA #30359
421 Nantucket Blvd.
Norman, OK 73071
Joseph Bradley Ayo, OBA #31458
1841 Portsmouth St.
Houston, TX 77098
Brent Douglas Berry, OBA #18013
7701 S. Western Ave.
Oklahoma City, OK 73139-2432
Jess Lynn Brewer II, OBA #14680
13428 Palm Ave.
Edmond, OK 73013
Elizabeth Riley Castleberry, OBA #10460
1755 W. 33rd Street, Suite 100
Edmond, OK 73013
Lawrence Matthew Corrales, OBA #21146
P.O. Box 6608
Norman, OK 73070
Teresa B. Davis, OBA #14949
14840 Hwy. 25170
Marshall, NC 28753
Jacqueline Cronkhite Dodd, OBA #30851
17 N. 6th St.
P.O. Box 1526
Fort Smith, AR 72902-1526
Kristin Foster, OBA #30078
1080 Bergen Street, #188
Brooklyn, NY 11216
Keith Scott Francis, OBA #13279
8404 E 107th St S
Tulsa, OK 74133-7321
Grant Chase Garrard, OBA #30085
11248 Broomfield Lane, #216
Broomfield, CO 80021
Sara Ruth Garrett, OBA #31907
129 E. 46th St., Apt. 5
Kansas City, MO 64112
Ryan Patrick Goodwin, OBA #32403
1814 E. 72nd St., Apt. 1615
Tulsa, OK 74136
Daniel Ryan Hensch, OBA #30315
2705 N. Windsor Blvd.
Oklahoma City, OK 73127
Martha Lynne Hyde, OBA #31102
7854 South 69 East Ave.
Tulsa, OK 74133
Bryan Lynn Kingery, OBA #15507
P.O. Box 398
Ada, OK 74820
Ryan Andrew Kuzmic, OBA #32249
1722 S. Carson Ave., Apt. 2207
Tulsa, OK 74119
Carl O. LaMar, OBA #18203
1501 N. 13th St.
P.O. Box 357
Duncan, OK 73533
Randolph Lee Marsh, OBA #17313
1900 Enchanted Way, Suite 125
Grapevine, TX 76051
Nathan Stewart McKibben, OBA #31406
4341 N.W. 43rd Street
Oklahoma City, OK 73112
Scott Ford McKinney, OBA #16692
12216 Banyan Lane
Oklahoma City, OK 73162
Jay Patrick Moisant, OBA #19682
14453 SE 29th Street, Suite B
Choctaw, OK 73020
Kimberly Farabough Mouledoux, OBA #30184
920 Bixby
Ardmore, OK 73401
Bridget Elizabeth Rains, OBA #31691
101 Darwin Rd.
Edmond, OK 73034
Margarita Solis, OBA #18998
4123 W. Main St., Apt. H
Norman, OK 73072-4566
Nicholas J. Stockdale, OBA #31429
2433 N.W. 54th St.
Oklahoma city, OK 73112
Lyle Stewart Vaughn, OBA #11185
912 N.W. 41st St.
Oklahoma City, OK 73118
George William Wiland III, OBA #20943
210 W. 12TH Street
Tulsa, OK 74119
Kajeer Yar, OBA #18162
2651 E. 66th St.
Tulsa, OK 74136





	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
